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                                                        1
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                                                        5
                                                            Attorney for Plaintiff Daniel Fellner
                                                        6
                                                        7                         IN THE UNITED STATES DISTRICT COURT

                                                        8                              FOR THE DISTRICT OF ARIZONA

                                                        9       Daniel Fellner,
4455 E. Camelback Road, Suite E-261




                                                                                                                  Case No. 2:19-cv-01719-DJH
                                                       10
      Phoenix, Arizona 85018




                                                                                  Plaintiff,
        Weiss and Moy, P.C.




                                                                                                                  PLAINTIFF’S NOTICE
                                                       11
                                      (480) 994-8888




                                                                                                                  CONCERNING JOINT
                                                                      v.                                          REPORT OF SETTLEMENT
                                                       12
                                                                Travel 4 All Seasons LLC,                         DISCUSSIONS (DOC. 36)
                                                       13
                                                       14                         Defendant.
                                                       15
                                                       16            Plaintiff Daniel Fellner, by and through undersigned counsel, hereby provide notice
                                                       17   of correction to the Joint Report of Settlement Discussions filed in this case at Doc. 36
                                                       18   (“Report”). In the Report, the parties jointly report that they had engaged in settlement
                                                       19   discussions which were not fruitful, stating specifically that “good faith settlement
                                                       20   discussions by telephone and email [were conducted] but were unable to resolve this
                                                       21   matter.” (Doc. 36 at 1:18-19.) Mr. Fellner, Plaintiff herein, was never informed by Richard
                                                       22   Liebowitz that settlement negotiations were ongoing. As such, Plaintiff believes that due to
                                                       23   Mr. Liebowitz’s apparent misconduct in, inter alia, failing to communicate any settlement
                                                       24   offer from Defendant to him in violation of ethical rules1 or that settlement negotiations
                                                       25
                                                            1
                                                              See, e.g., ER 1.4, Comment 2 (stating that “a lawyer who receives from opposing counsel
                                                       26
                                                            an offer of settlement in a civil controversy must promptly inform the client of its substance
                                                       27   unless the client has previously indicated that the proposal will be acceptable or
                                                            unacceptable or has authorized the lawyer to accept or reject the offer”) (citing ER 1.2(a)
                                                       28
                                                            [“(a) Subject to paragraphs (c) and (d), a lawyer shall abide by a client's decisions
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 1   were even ongoing, the settlement discussions were, unbeknownst to Defendant, not done
 2   in “good faith.” As of the date of the Report (Dec. 6, 2019), Mr. Fellner was open, and
 3   continues to be open to, settlement of this matter. The undersigned will attempt to rectify
 4   this situation by, inter alia, attempting to negotiate a settlement in good faith with
 5   Defendant by (1) communicating with Defendant and determining what the parties’
 6   settlement position was as of the date of the Report and (2) attempting to settle the case at
 7   this stage.
 8        RESPECTFULLY SUBMITTED this 3rd day of August, 2020.
 9
                                   MotoSalas Law, PLLC
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11                                 By:/s/Kenneth M. Motolenich-Salas
12                                 Kenneth M. Motolenich-Salas (027499)
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                                   Proposed Attorney of Record for Plaintiff Daniel Fellner
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25   concerning the objectives of representation and, as required by ER 1.4, shall consult with
26   the client as to the means by which they are to be pursued. A lawyer may take such action
     on behalf of the client as is impliedly authorized to carry out the representation. A lawyer
27   shall abide by a client's decision whether to settle a matter. In a criminal case, the lawyer
28   shall abide by the client's decision, after consultation with the lawyer, as to a plea to be
     entered, whether to waive jury trial and whether the client will testify.”].)
                                                   2
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 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on this 3rd day of August, 2020, I electronically transmitted the
 3   foregoing document and all exhibits thereto to the Clerk’s Office using the CM/ECF
 4   System for filing and transmittal of a Notice of Electronic Filing to all CM/ECF registrants
 5   of record in this matter.
 6   By: /s/ Kenneth M. Motolenich-Salas
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